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CERTIFICATE OF SERVICE

I, Alissa T. Gazze, Esquire, certify that I am not less than 18 years of age, and that

September 30, 2010 At 11:00 A.M. (Eastern Time) was caused to be made 6h September 29, 2010, in

service of the foregoing Notice Of Amended Agenda Of Matters sich Sp For Hearing On

the manner indicated upon the entities identified below and those on the atfached}service li

Date: September 29, 2010

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